Case: 3:17-mj-00440-SLO Doc #: 1 Filed: 09/19/17 Page: 1 of 9 PAGEID #: 1

AO 106 (Rev. 04/10) Application for a Search Warrant reppeei F
= PAGE
VLE OF COURT
UNITED STATES DISTRICT COURT ars
r .
for the SEP 19 PH &: 06
Southern District of Ohio US. DSTRIET Caunt
In the Matter of the Search of ) PERK fity Be rr}
(Briefly describe th ty to b rched g 4 i i%
Sap aaah pods > cen, BP ATM 440
429 Mertland Avenue, Dayton, Ohio 45431 wer T OF rot ANY
a Led
) fe

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the

pager ty pe searched and give its location):

located in the Southern District of Ohio , there is now concealed (identify the

person or describe the property to be seized):
See Attachment B

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
mM evidence of a crime:
of contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;

© a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 U.S.C. 841(a)(1) Distribution of Controlled Substance
21 U.S.C. 846 Conspiracy to Distribute Controlled Substance
18 U.S.C. 1956 Money Laundering and Conspiracy to Commit Money Laundering

The application is based on these facts:
See Attached Affidavit

Mf Continued on the attached sheet.
O Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

eRe) ee

Applicant's signature

Alex P.. Hillman, Task-Force Officer
“s, Printed nameand MI

a fe te.

ty “4 “Se

Sworn to before me and signed in my presence.

Date: G_ | G- / 7

City and state: Dayton, Ohio

“y

te Judge

€ Judge 's signature ic

Sharon L: ‘Ovington, US. Magist

“s Printed name and title?

Case: 3:17-mj-00440-SLO Doc #: 1 Filed: 09/19/17 Page: 2 of 9 PAGEID #: 2

AFFIDAVIT IN SUPPORT OF SEARCH AND SEIZURE WARRANT

Alex P. Hillman, a Task Force Officer of the Drug Enforcement Administration, United
States Department of Justice (hereinafter referred to as the ““Affiant”), being duly sworn, deposes
as follows:

INTRODUCTION

1. Affiant is a Task Force Officer with the Drug Enforcement Administration
(DEA), and has been since October, 2014. Affiant is a Detective with Troy Police Department
(TPD) and has been employed by TPD since 2003. Affiant has conducted and participated in
complex drug trafficking conspiracy and money laundering investigations which have resulted in
arrests; execution of search warrants that resulted in the seizure of narcotics, narcotics proceeds
and other evidence of narcotics trafficking activities; and supervised the activities of cooperating
sources (CS) that have provided information and assistance resulting in narcotics purchases.
Through training and experience, Affiant is familiar with the manner in which persons involved
in the illicit distribution of controlled substances often operate. They usually attempt to conceal
their identities, the locations at which they reside, and where they store controlled substances and
the illegal proceeds derived from their drug trafficking activity. Through training and
experience, Affiant is familiar with the practices of narcotics distributors, whereby they attempt
to conceal the true nature, source, and location of proceeds of illegal activity, commonly referred
to as money laundering. Affiant has received training on numerous subjects related to the
internet, social media, smart phones, smart phone applications, SMS/MMS, cellular phone tolls,
Title III intercepts, Penlink, and computer programming languages. Affiant is familiar with and
has working knowledge of the internet, social media websites, online commerce, smart phones,
smart phone applications, SMS, and MMS. Affiant has personal accounts of and is a daily user
of the aforementioned items. I have utilized mobile tracking devices (MTD) in the past and have
analyzed the data collected from such devices.

2, Along with other agents and task force officers of the DEA and other agencies,
your Affiant is currently involved in an investigation into a Drug Trafficking Organization
(DTO) regarding the distribution of narcotics, and conspiracy to do the same, in violation of Title
21, United States Code, Sections 841(a)(1) and 846, as well as money laundering and conspiracy
to do the same, in violation of Title 18, United States Code, Section 1956. This Affidavit is
submitted in support of an Application for a Search Warrant authorizing the search of the
following premises, more particularly described in Attachment A, incorporated herein by
reference, for the items described in Attachment B, incorporated herein by reference: 429
Mertland Avenue, Dayton, Ohio 45431 (hereinafter referred to as the “TARGET
RESIDENCE”).

3, As outlined below, there is probable cause to believe that violations of Title 21,
United States Code, Sections 841(a)(1) and 846 (distribution of controlled substance and
conspiracy to do the same), and Title 18, United States Code, Section 1956 (money laundering
and conspiracy to do the same) are being committed, and that evidence, fruits, and
Case: 3:17-mj-00440-SLO Doc #: 1 Filed: 09/19/17 Page: 3 of 9 PAGEID #: 3

instrumentalities of these violations, as well as contraband, as set forth more fully in Attachment
B, is presently located in the TARGET RESIDENCE.

4, Affiant is familiar with the facts and circumstances described herein and makes
this affidavit based upon personal knowledge derived from Affiant’s participation in this
investigation, conclusions affiant has reached based on Affiant’s training and experience, and
upon information Affiant believes to be reliable from the following sources:

A. Oral and written reports about this investigation and other investigations, which
affiant has received from federal agents and agents from state and local law
enforcement agencies;

B. Physical surveillance conducted by federal and local law enforcement agents, the
details of which have been reported to affiant either directly or indirectly;

C. Information developed from cooperating sources;

D. Public records;

E. Recorded calls made by undercover agents;

F. GPS location data received from court-authorized search warrant.
The information contained in this Affidavit is either personally known by affiant or relayed to
affiant by other law enforcement officers involved in this investigation. This affidavit does not
contain all facts known to Affiant, only those necessary to establish probable cause in support of

the requested search warrant.

FACTS SUPPORTING PROBABLE CAUSE

5. Affiant is currently assisting with the investigation of a DTO that is transporting
cocaine and other controlled substances into the United States. This DTO is also utilizing
couriers in the Dayton, Ohio area to collect drug proceeds, in the form of bulk US Currency, and
transport it to known and unknown cooperators for the purpose of laundering it back to Mexico.
This organization has multiple targets located throughout the country including, but not limited
to, California and Ohio. This investigation is an ongoing investigation which was initiated by
DEA Los Angeles. Throughout the investigation, DEA offices across the United States have
seized more than one thousand kilograms of cocaine which were under control of the DTO.

6. On September 13, 2017, DEA Columbus was contacted by DEA Los Angeles and
advised that DEA Los Angeles had received a contract to pick up approximately $100,000.00 in
drug proceeds in Ohio. Members of DEA Los Angeles provided (513) 208-8041 as a contact
number for the person in possession of the money in Ohio.

7. On September 13, 2017, an undercover officer (UC), acting under the authority of
the DEA, made contact with (513) 208-8041 and spoke with an unknown Hispanic male, later
Case: 3:17-mj-00440-SLO Doc #: 1 Filed: 09/19/17 Page: 4 of 9 PAGEID #: 4

identified as Antonio ROYAL-Acosta. During the conversation, ROYAL-Acosta told the UC
that he could meet the UC in Dayton, Ohio, but did not want to drive to Columbus because he
did not have a license.

8. On September 13, 2017, DEA Los Angeles obtained a search warrant authorizing
the acquisition of location information for the telephone using (513) 208-8041. The location data
showed the phone was located at 553 St. Paul Ave, Dayton, Ohio.

9, On September 14, 2017, DEA Columbus contacted DEA Dayton and advised the
particulars of the upcoming money pick up. DEA Dayton then initiated surveillance on 553 St.
Paul Avenue. At approximately 11:41 a.m., members of DEA Dayton received location data
which placed the (513) 208-8041 phone at the 553 St. Paul Avenue. At approximately 11:49
a.m., members of DEA Dayton observed ROYAL-Acosta exit 553 St. Paul Avenue, enter the
passenger seat of a Chrysler Pacifica displaying Ohio license plate EUV8325, and depart the
area. At approximately 11:55 a.m., members of DEA Dayton received location data which
showed the phone was moving in Dayton, in tandem with the Chrysler Pacifica.

10. At approximately 12:12 p.m. on September 14, 2017, DEA Dayton received
location data which showed the phone was located at the TARGET RESIDENCE. DEA
Dayton then established surveillance of the TARGET RESIDENCE.

11. On September 14, 2017, at approximately 12:30 p.m., the UC made contact with
ROYAL-Acosta again and they agreed to meet at the Meijer located at 9200 N. Main St.,
Dayton, Ohio. At approximately 1:15 p.m., members of DEA Dayton observed ROY AL-Acosta
leave the TARGET RESIDENCE, enter the passenger seat of the Chrysler Pacifica, and depart
the area. Members of DEA Dayton conducted surveillance on the Chrysler Pacifica for a short
distance, but were not able to maintain surveillance.

12. At approximately 1:41 p.m. on September 14, 2017, DEA Dayton received
location data which showed the (513) 208-8041 phone was located at the Fairfield Mall located
at 2727 Fairfield Commons Blvd., Beavercreek, Ohio. At approximately 1:55 p.m., members of
DEA Dayton located the Chrysler Pacifica parked in a handicapped spot, unoccupied, directly in
front of the mall. Members of DEA Dayton then established surveillance on the Meijer Parking
lot located at 9200 N. Main St.

13. At approximately 2:45 p.m. on September 14, 2017, the UC made contact with
ROYAL-Acosta, who stated he would have his courier waiting at the meet location, in a black
2008 Honda Accord. ROYAL-Acosta then called the UC back and stated that his courier was
standing outside his vehicle, but could not find the UC. At approximately 3:54 p.m., ROYAL-
Acosta told the UC that his runner was actually at the Meijer located at 3822 Colonel Glenn
Highway, Fairborn, Ohio.

14. At approximately 4:08 p.m. on September 14, 2017, members of DEA Dayton
located a Hispanic male parked in the area of Meijer in a black 2008 Honda Accord. The
individual was later identified as Joel GONZALEZ-Gomez. At approximately 4:23 p.m., the UC
made contact with ROYAL-Acosta, and stated that GONZALEZ-Gomez was at the wrong
Case: 3:17-mj-00440-SLO Doc #: 1 Filed: 09/19/17 Page: 5 of 9 PAGEID #: 5

Meijer, and asked that GONZALEZ-Gomez move to the Meijer located at 9200 N. Main St.
Members of DEA Dayton then observed GONZALEZ-Gomez drive from the Meijer to the
Fairfield Mall, exit the driver’s side of the vehicle and enter the passenger seat. Members of
DEA Dayton then observed ROYAL-Acosta enter the driver’s seat of the vehicle and leave the
area.

13. At approximately 4:50 p.m. on September 14, 2017, Ohio State Patrol conducted
a traffic stop on ROYAL-Acosta, driving the black Honda Accord. During the traffic stop a K9
alerted to the presence of narcotics in the vehicle, and a probable cause search of the vehicle was
conducted. During the search, ROYAL-Acosta and GONZALEZ-Gomez were found to be in
possession of a large amount of bulk U.S. Currency.

16. During a post-Miranda interview with ROY AL-Acosta, he stated that he was
working for an unknown Hispanic male who gave him the bag, and asked him to distribute it to
an unknown male at the Meijer located at 9200 N. Main St. ROYAL-Acosta also stated that he
was at the TARGET RESIDENCE earlier the same date, had a key to the TARGET
RESIDENCE, had a bag of clothes at the TARGET RESIDENCE, and was allowed to enter
the residence at any time he pleased, but GONZALEZ-Gomez was the only one regularly living
at the TARGET RESIDENCE. ROYAL-Acosta then signed a consent to search for the
TARGET RESIDENCE.

[7. During a post-Miranda interview with GONZALEZ-Gomez, he stated that he was
working for ROY AL-Acosta, and that ROYAL-Acosta gave him the bag, and told him to drive
to the Meijer to deliver it to an unknown male. GONZALEZ-Gomez stated that he looked inside
the bag and saw that it was a large amount of U.S. Currency, but did not know what it was for.
GONZALEZ-Gomez then stated that ROYAL-Acosta called, asked to be picked up, and then
asked to drive the vehicle. GONZALEZ-Gomez stated that he lived at the TARGET
RESIDENCE, and had a key for the TARGET RESIDENCE. GONZALEZ-Gomez then
signed a consent to search for the TARGET RESIDENCE.

18. | Members of DEA Dayton then conducted a consent search of the TARGET
RESIDENCE on September 14, 2017. During the search, members of DEA Dayton found the
following items indicative, in my training and experience, of drug trafficking activity: a
hydraulic kilogram press, kilogram form plates hidden in floor grates, bags containing white
powder residue, ventilation masks hidden in a small hole cut into the wall inside a utility closet,
motor grease consistent with the grease found on the exterior packaging of the bulk U.S.
currency, heat seal bags, a vacuum sealer, a blender, and several fraudulent Mexican
identification cards each displaying a photo of ROYAL-Acosta.

19. On September 18, 2017, members of DEA Dayton received information from
DEA Louisville that ROYAL-Acosta was the target of an investigation in Louisville, Kentucky,
where he was operating a house utilized for storing, and repackaging kilogram quantities of
heroin. Members of DEA Louisville stated that ROYAL-Acosta utilized carpentry skills to assist
with concealment of kilograms of heroin. Members of DEA Louisville stated that during the
execution of a search warrant at ROYAL-Acosta’s residence in Louisville, agents found
kilogram wrappers containing heroin residue hidden in the wall behind the drywall, kilograms of
Case: 3:17-mj-00440-SLO Doc #: 1 Filed: 09/19/17 Page: 6 of 9 PAGEID #: 6

heroin hidden in the walls behind the drywall, and kilograms of heroin and scales hidden in the
floor beneath finished tile flooring.

20. Based on information from DEA counterparts that the DTO associated with
ROYAL-Acosta is known to hide drugs, drug proceeds, and criminal tools in the walls and floors
of residences, during the search of the TARGET RESIDENCE authorized by the requested
warrant, members of DEA Dayton will make entry into the TARGET RESIDENCE and secure
the premises. Once the location is secured, a K-9 will be utilized to search for the odor of
controlled substances. Upon a positive indication by the K-9, a backscatter x-ray will be utilized
to determine if objects are located inside of walls, floors, or other voids in the TARGET
RESIDENCE. In the event that objects are detected inside of walls, floors, or other voids
through the procedures outlined herein, the least intrusive method of search will be performed to
locate items of evidentiary value that may be contained within walls, floors, or other voids.

21. Affiant knows from his training and experience in drug investigations that drug
traffickers often generate and maintain large amounts of U.S. currency, which are typically
proceeds of narcotics trafficking. I also know that vehicles are often times used to conceal,
transport, and distribute illegal narcotics and the proceeds of illegal narcotics. Your Affiant
knows that drug traffickers use vehicles as a means of transportation to narcotics stash locations
and distribution points.

22. Affiant knows from his training and experience in drug investigations that
traffickers often maintain in their residences and other locations from which they conduct their
drug trafficking activity, controlled substances, books, records, receipts, notes, ledgers, and other
papers relating to the procurement, distribution, storage and transportation of controlled
substances to include records showing the phone numbers and/or pager numbers of suppliers or
customers, and other criminal associates. They frequently maintain receipts such as credit card
billings, telephone bills and toll records, parking stubs, hotel reservations/records, airline tickets,
gas receipts and various notes. They possess items used to package controlled substances, and
bulk currency. It is also common for these drug traffickers to maintain electronic devices, to
include but not limited to, mobile telephones, computers, paging devices, answering machines,
police scanners and money counters to facilitate their criminal activity. These items are
commonly maintained in locations to which drug traffickers have frequent and ready access, i.e.
homes, apartments, businesses and automobiles.

23. It is common for drug traffickers to conceal narcotics, narcotics records, narcotics
proceeds and other related items described above within their businesses, residences, and
automobiles; with their criminal associates; or with other trusted individuals in order to conceal
such items from law enforcement authorities.

24. Affiant knows that narcotics traffickers often purchase and/or title assets and open
accounts, such as utility accounts, in fictitious names, aliases, or the names of relatives,
associates, girlfriends or business entities to avoid detection of these assets and accounts by
government agencies. Even though these assets and accounts are in names other than the
traffickers’, the narcotics traffickers actually own and continue to use these assets and accounts
and exercise dominion and control over them.
Case: 3:17-mj-00440-SLO Doc #: 1 Filed: 09/19/17 Page: 7 of 9 PAGEID #: 7

25; Persons engaged in drug trafficking often take or cause to be taken photographs
and/or videotapes of themselves, associates, drug proceeds or property derived from the proceeds
derived from the sale of controlled substances. Traffickers usually maintain these items in their
possession.

26. Affiant is aware, based on his training and experience that drug dealers frequently
maintain firearms and weapons to protect both the controlled substances and proceeds derived
from their sales. Drug traffickers maintain firearms as a use of force, or threat of force, against
rival drug dealers and/or delinquent customers.

27, Based on the information above, your Affiant submits that there is probable cause
to believe that ROYAL-Acosta and GONZALEZ-Gomez are involved with the movement bulk
U.S. currency derived from drug trafficking, and the movement of multi-kilogram shipments of
heroin from Mexico, and throughout the United States. Your Affiant also submits that there is
probable cause to believe that the TARGET RESIDENCE has been used by ROYAL-Acosta
and/or GONZALEZ-Gomez for the purpose of storing and repackaging kilogram quantities of
heroin, and bulk U.S. Currency. Affiant submits that, based information obtained from the DEA
Louisville following the consent search conducted at the TARGET RESIDENCE on September
14, 2017, there is probable cause to believe that fruits, evidence and instrumentalities of this
criminal conduct, as described more fully in Attachment B, continue to exist within the
TARGET RESIDENCE.

CONCLUSION

28. Based upon the information contained in this affidavit, Affiant submits that there
is probable cause to believe that ROYAL-Acosta, GONZALEZ-Gomez, and others are involved
in the distribution of narcotics and a conspiracy to do the same, in violation of 21 U.S.C. §§ 846
and 841(a)(1), and money laundering and conspiracy to do the same, in violation of 18 U.S.C. §
1956. Affiant asserts there is probable cause to believe evidence of those violations, along with
the fruits and/or instrumentalities of those offenses, are located at the TARGET RESIDENCE.

Alex P. Hillman, Task Force Officer
Drug Enforcement Administration

Subscribed and sworn to before me on September 19, 3017. Bed sey \

Ohi, vee Jb

Honorable Sharon L: Ovin& ot
United States Magistrate’ aidgy

Case: 3:17-mj-00440-SLO Doc #: 1 Filed: 09/19/17 Page: 8 of 9 PAGEID #: 8

ATTACHMENT A

DESCRIPTION OF PREMISES TO BE SEARCHED

429 Mertland Avenue, Dayton, Ohio 45431 (TARGET RESIDENCE) is a single-story, single-
family, detached dwelling with blue siding. When facing the front of the residence, there are two
windows on the left side of the building facing the roadway. The driveway is on the right side of
the building and leads to a covered porch in the front. Directly in front of the covered porch are
two large bushes. The front door is white with a small, semicircular window at the top of the
door, with a full window directly to the right of the door facing the street. The premises to be
searched includes all rooms, attics, basements, surrounding grounds, curtilage, storage areas,
voids in walls or floors, and outbuildings of any kind located in or on the TARGET
RESIDENCE.

Case: 3:17-mj-00440-SLO Doc #: 1 Filed: 09/19/17 Page: 9 of 9 PAGEID #: 9

ATTACHMENT B

PROPERTY TO BE SEIZED

The items to be searched for and seized are evidence, contraband, fruits of crime, and

other items illegally possessed, as well as property designed for use, intended for use, relating to
violations of 21 U.S.C. §§ 846 and 841(a)(1) and 18 U.S.C. § 1956, including, but not limited to:

A.

Log books, records, payment receipts, notes, and/or customer lists, ledgers, and other
papers or electronic records relating to the transportation, ordering, purchasing,
processing, and distribution of controlled substances.

Papers, tickets, notices, credit card receipts, travel schedules, travel receipts, passports,
and/or records, and other items relating to domestic and foreign travel to obtain and
distribute narcotics and narcotics proceeds, including, but not limited to airline receipts,
vehicle rental receipts, credit card receipts, travel schedules, diaries, hotel receipts, truck
logs, travel agency vouchers, notes, records of long distance telephone calls, e-mail and
other correspondence.

Address and/or telephone books and papers reflecting names, e-mail and physical
addresses and/or telephone numbers of individuals, partnerships, or corporations involved
in drug trafficking and money laundering.

Financial records, financial statements, receipts, statements of accounts and related bank
records, money, drafts, letters of credit, money orders and cashier’s checks receipts,
passbooks, bank checks, escrow documents, and other items evidencing the obtaining,
secreting, transfer, and/or concealment of assets and the obtaining, secreting, transferring,
concealment, and/or expenditure of money.

Electronic equipment such as surveillance video and related equipment, pagers,
computers, electronic organizers, facsimile machines, cellular telephones, caller ID,
telephone answering machines, police scanners and two-way radios, money counters.

United States currency, precious metals, coins bullion, jewelry, and financial instruments,
including, but not limited to stocks and bonds.

Photographs and/or photographic albums or video tapes and recordings of houses and
other real estate, automobiles, and of other assets, persons, and/or controlled substances.

Indicia of occupancy, residency, and/or ownership of the premises and vehicles
including, but not limited to utility and telephone bills, canceled envelopes, keys, deeds,

tax bills, titles, and vehicle registrations.

Contraband, such as illegal drugs and other materials, paraphernalia and/or equipment
and tools used in the drug trade, including heat sealing equipment.

Firearms and ammunition.
